       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Charles Stanard Severance
       v. Commonwealth of Virginia
       Record No. 0308-16-4
       Opinion rendered by Judge O’Brien on
        May 23, 2017

    2. Justo Mazariego Campos
        v. Commonwealth of Virginia
        Record No. 0617-16-2
        Opinion rendered by Chief Judge Huff on
        June 13, 2017
   The following cases in which the Court of Appeals issued published opinions have been disposed of by
the Supreme Court:

           1. William Edward Freeman, Jr.
              v. Commonwealth of Virginia
              Record No. 2302-14-4
              Opinion rendered by Judge Petty
               on November 17, 2015
              Refused (151930)

           2. Jesse Gregory Edmond
               v. Commonwealth of Virginia
              Record No. 0557-15-2
               Opinion rendered by Judge Malveaux
                on August 2, 2016
               Refused (161283)

           3. King William County and Virginia Association of Counties Group
              v. Linda Jones
              Record No. 0576-15-2
              En Banc opinion rendered by Judge Russell
               on August 9, 2016
              Refused (161308)

           4. José Rafael Salazar
               v. Commonwealth of Virginia
              Record No. 0879-15-4
               Opinion rendered by Judge Russell
                on August 23, 2016
               Refused (161492)

           5. Rudolph David Taylor
              v. Commonwealth of Virginia
              Record Nos. 1330-15-3 and 1340-15-3
              Opinion rendered by Judge Chafin
               on September 13, 2016
              Refused (161445)
